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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

vs.                                                CASE NO.: 1:08-cr-39-SPM

JOHN LEE DRIGGERS, and
ALTON JAMES LAND,

           Defendants.
____________________________/

       ORDER DENYING MOTIONS FOR RELEASE PENDING APPEAL

       THIS CAUSE comes before the Court upon Defendant Alton James

Land’s (doc. 162) and Defendant John Lee Driggers’s (doc. 165) Motions for

Release Pending Appeal. The Government has filed responses in opposition

(docs. 163, 170). As grounds, Defendants state that the Court’s denial of their

Motions for Judgment of Acquittal, alleging that the Government failed to prove

that the Defendants bribery offenses involved something of value of $5,000 or

more and, as to Defendant Driggers, entrapment as a matter of law, constitutes

an error that raises a substantial question of law and may result in reversal.

       18 U.S.C. § 3143(b) sets forth the criteria for release pending appeal.

The Court shall order detention unless it appears by “clear and convincing

evidence that the person is not likely to flee or pose a danger to the safety of any
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other person or the community if released.” The Court must also find “that the

appeal is not for the purpose of delay and raises a substantial question of law or

fact likely to result in reversal, an order for a new trial, a sentence that does not

include a term of imprisonment, or a reduced sentence to a term of

imprisonment[.]”

       The Court finds that Defendants are unlikely to flee or to pose a danger to

others or to the community. However, the second element of the statute is not

met. Defendants have not shown by clear and convincing evidence that their

appeals raise a substantial question of law or fact likely to result in reversal, a

new trial, a non-incarcerative sentence, or a reduced term of imprisonment.

       Accordingly, it is ORDERED AND ADJUDGED that Defendants’ Motions

for Release Pending Appeal (docs. 162, 165) are hereby denied.

       DONE AND ORDERED this twenty-fifth day of January, 2010.


                                       s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    Chief United States District Judge




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